







		NO. 12-08-00425-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




MICHAEL KENNEDY,§
	APPEAL FROM THE 87TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


MARK CALHOON,

APPELLEE§
	ANDERSON COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	On October 24, 2008, Appellant, Michael Kennedy, filed a notice of appeal.  On
November&nbsp;6, 2008, this court notified Kennedy, pursuant to Texas Rule of Appellate Procedure 37.1,
that the information received in this appeal does not contain a final judgment or other appealable
order.  Kennedy was further informed that the appeal would be dismissed if the information received
in the appeal was not amended on or before December 8, 2008 to show the jurisdiction of this court. 
The deadline for amendment has passed, and Kennedy has neither responded to the November 6,
2008 notice or otherwise shown the jurisdiction of this court.  Accordingly, the appeal is dismissed
for want of jurisdiction.  See Tex. R. App. P. 37.1, 42.3.

Opinion delivered November 26, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(PUBLISH)


